    Case 2:24-cv-02044-DDC-GEB             Document 18       Filed 03/19/24      Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS


PHYLLIS J. ZORN,                                 )
                                                 )
                       Plaintiff,                )
vs.                                              ) Civil Action No. 2:24-cv-2044-DDC-TJJ
                                                 )
CITY OF MARION, KS; DAVID MAYFIELD, )
individually and in his official capacity;       )
GIDEON CODY, individually and in his official )
capacity; ZACHARIAH “ZACH” HUDLIN,               )
in his individual capacity; THE BOARD OF         )
COUNTY COMMISSION OF MARION                      )
COUNTY, KS; SHERIFF JEFF SOYEZ,                  )
individually and in his official capacity; AARON )
CHRISTNER, in his individual capacity.           )
                                                 )
                       Defendants.               )
                                                 )

     UNOPPOSED MOTION FOR EXTENSION OF ONE BUSINESS DAY FOR
 DEFENDANTS DAVID MAYFIELD, ZACHARIAH “ZACH” HUDLIN AND CITY OF
      MARION, KS TO FILE THEIR ANSWER OR OTHERWISE RESPOND

       COMES NOW Defendants David Mayfield (Mayfield), Zachariah “Zach” Hudlin

(Hudlin), and the City of Marion, Kansas (the City), by and through their counsel, Jennifer M. Hill

and Edward L Keeley of McDonald Tinker PA, and respectfully move the Court for an order

granting Defendants an extension of one business day, or until and including March 25, 2024, in

which to file their Answer or otherwise respond to Plaintiff’s Complaint. (See Doc 1) Plaintiff’s

Complaint consists of 30 pages and 126 paragraphs of allegations against these and other

Defendants. In support of this motion these Defendants state as follows:

      1.   After a Clerk’s Order for Extension of Time (Doc. 13) was granted the deadline to file

an Answer or otherwise plead is March 22, 2024. There have been no other extensions requested.

      2.   Defendants request an extension of one business day to file their Answer or other
    Case 2:24-cv-02044-DDC-GEB               Document 18        Filed 03/19/24     Page 2 of 3




response to Plaintiff’s Complaint and including to March 25, 2024. Plaintiff’s counsel does not

object.

      3.     The reason for this requested extension is that counsel for Defendants has been required

to work on other urgent legal matters, including an all-day confidential arbitration in a labor and

employment matter on March 20, 2024; multiple expert witness depositions in Compton

Construction v. City of Haven, KS et al, Reno County District Court, Case No. RN 2020-CV-

000054; and extensive discovery work including subpoenas to third party witnesses in Hartford

Fire Insurance Company v. The Law Company, Inc., et al, Pottawatomie County District Court,

Case No. PT-2023-CV-000065. Counsel is also working on a Motion to Dismiss to be filed for

Defendant Gideon Cody in the case at bar which will be filed on Friday, March 22, 2024.

      4.     This request for extension is made in good faith and not for purpose of delay.

          WHEREFORE, by reason of the above and foregoing, Defendants David Mayfield

(Mayfield), Zachariah “Zach” Hudlin (Hudlin), and the City of Marion, Kansas (the City),

respectfully request a one business day extension of time, or until and including March 25, 2024

for these Defendants to file an Answer or otherwise respond to Plaintiff’s Complaint in this case.

                                                      Submitted by:

                                                      s/ Jennifer M. Hill
                                                      Jennifer M. Hill, #21213
                                                      Edward L. Keeley, #09771
                                                      McDONALD TINKER PA
                                                      300 West Douglas, Suite 500
                                                      Wichita, KS 67202
                                                       T: (316) 263-5851
                                                       F: (316) 263-4677
                                                       E: jhill@mcdonaldtinker.com
                                                          ekeeley@mcdonaldtinker.com
                                                       Attorneys for Defendants




                                                  2
    Case 2:24-cv-02044-DDC-GEB            Document 18        Filed 03/19/24     Page 3 of 3




                                CERTIFICATE OF SERVICE

       I hereby certify that on the 19th day of March 2024, I presented the foregoing Unopposed

Motion for Extension of One Business Day for Defendants to Respond to the Clerk of the Court

for filing and uploading to the CM/ECF system which will send a notice of electronic filing to the

following:

       Randall K. Rathbun
       Depew Gillen Rathbun & McInteer, LC
       8301 East 21st Street North, Suite 450
       Wichita, KS 67206
       Attorneys for Plaintiff



                                                    s/ Jennifer M. Hill
                                                    Jennifer M. Hill, #21213
                                                    Edward L. Keeley, #09771




                                                3
